Case 2:18-cv-03675-ILG-RLM Document 14 Filed 02/08/19 Page 1 of 8 PageID #: 70




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

BRIAN GARCIA,

                                               Plaintiff,             ANSWER TO AMENDED
                                                                          COMPLAINT
                       -against-
                                                                        18-cv-3675(JMA)(GRB)
COUNTY OF SUFFOLK, SUFFOLK COUNTY
POLICE DEPARTMENT, P.O. DAVID YOUNG,
Shield #4486/420, in his individual and official
                                                                     JURY TRIAL DEMANDED
capacity, P.O. DAVID FERRARA, Shield #6163/420
in his individual and official capacity, DET. JAMES
STAPLETON, Shield #1348/3140, in his individual
and official capacity, DET. ARTHUR RALL, Shield
#1399/3140, in his individual and official capacity,
DET. TIMOTHY ZORN, Shield #1469/2420, in his
individual and official capacity,

                                           Defendants.


       Defendant, COUNTY OF SUFFOLK, P.O. DAVID YOUNG, P.O. DAVID FERRARA,

DET. JAMES STAPLETON, DET ARTHUR RALL and DET. TIMONTH ZORN, by its

attorney, Dennis M. Brown, Suffolk County Attorney, by Kyle Wood, Assistant County

Attorney, answering plaintiff’s complaint respectfully:

       1.      Avers that the allegations contained in the paragraphs numbered 1, 2, 7 and 8 of

the complaint characterize the legal action being brought and purport to invoke the jurisdiction of

the Court pursuant to the enumerated statutes and, as such, makes no answer save to demand

strict proof thereof and to deny any conduct giving rise to any cause of action thereunder.

       2.      Denies knowledge or information sufficient to form a belief as to the allegations

contained in the paragraphs numbered 3, 4, 5, 6, 9, 18, 33 and 47 of the complaint, and refers all

questions of law to the Court.
                                                 1
Case 2:18-cv-03675-ILG-RLM Document 14 Filed 02/08/19 Page 2 of 8 PageID #: 71




       3.      Denies the allegations contained in the paragraph numbered 10 of the

complaint except admits receipt of a purported notice of claim, and refers all questions of

law to the Court.

       4.      Denies knowledge or information sufficient to form a belief as to the allegations

contained in the paragraphs numbered 11, 15, 16, 17, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29,

30, 31, 32, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45 and 46 of the complaint.

       5.      Denies knowledge or information sufficient to form a belief as to the

allegations contained in the paragraph numbered 12 of the complaint, except admits that

Defendant County of Suffolk is and was a duly constituted municipal corporation of the State of

New York, and refers all questions of law to the Court.

       6.      Denies knowledge or information sufficient to form a belief as to the

allegations contained in the paragraph numbered 14 of the complaint, except admits that

Defendants Officer David Young, Officer David Ferrara, Det. James Stapleton, Det. Arthur Rall,

Det Timothy Zorn are members of the Suffolk County Police Department.

                                As and for Defendants Answer to a
                              First Cause of Action 42 U.S.C. §1983

       7.       Answering the paragraph numbered 48 of the complaint repeats, reiterates and

realleges each and every response to the recited paragraphs, with the same force and effect as if

the same were set forth at length herein.

       8.      Denies knowledge or information sufficient to form a belief as to the allegations

contained in the paragraphs numbered 49, 50, 51, 52, 53 and 54 of the complaint, and refers all

questions of law to the Court.



                                                 2
Case 2:18-cv-03675-ILG-RLM Document 14 Filed 02/08/19 Page 3 of 8 PageID #: 72




                                As and for Defendants Answer to a
                             Second Cause of Action 42 U.S.C. §1981

       9.       Answering the paragraph numbered 55 of the complaint repeats, reiterates and

realleges each and every response to the recited paragraphs, with the same force and effect as if

the same were set forth at length herein.

       10.     Denies the allegations contained in paragraph numbered 56 of the complaint.

       11.     Denies knowledge or information sufficient to form a belief as to the allegations

contained in the paragraph numbered 57 of the complaint.

       12.     Denies knowledge or information sufficient to form a belief as to the allegations

contained in the paragraphs numbered 58, 59, 60, 61, 62, 63 and 64 of the complaint, and refers

all questions of law to the Court.

                        As and for Defendants Answer to a Third Cause of
                           Action 42 U.S.C. §1983-Municipal Liability

       13.       Answering the paragraph numbered 65 of the complaint repeats, reiterates and

realleges each and every response to the recited paragraphs, with the same force and effect as if

the same were set forth at length herein.

       14.     Denies the allegations contained in paragraphs numbered 66, 67, 68, 69, 70, 71,

72 and 73 of the complaint, and refers all questions of law to the Court.

                              As and for Defendants Answer to a
                  Fourth Cause of Action 42 U.S.C. §1983- Failure to Intervene

       15.       Answering the paragraph numbered 74 of the complaint repeats, reiterates and

realleges each and every response to the recited paragraphs, with the same force and effect as if

the same were set forth at length herein.



                                                 3
Case 2:18-cv-03675-ILG-RLM Document 14 Filed 02/08/19 Page 4 of 8 PageID #: 73




         16.   Denies knowledge or information sufficient to form a belief as to the allegations

contained in the paragraphs numbered 75, 76, 77, 78 and 79 of the complaint, and refers all

questions of law to the Court.

                   As and for Defendants Answer to a Fifth Cause of Action 42
                  (Pendent State Law Claim) Negligent Hiring and Supervision

         17.     Answering the paragraph numbered 80 of the complaint repeats, reiterates and

realleges each and every response to the recited paragraphs, with the same force and effect as if

the same were set forth at length herein.

         18.   Denies the allegations contained in paragraph numbered 81 of the complaint, and

refers all questions of law to the Court.

         19.   Denies knowledge or information sufficient to form a belief as to the allegations

contained in the paragraph numbered 82 of the complaint, and refers all questions of law to the

Court.

                           As and for Defendants Answer to Punitive
                         Damages (Against All Defendants Individually)

         20.     Answering the paragraph numbered 83 of the complaint repeats, reiterates and

realleges each and every response to the recited paragraphs, with the same force and effect as if

the same were set forth at length herein.

         21.   Denies the allegations contained in paragraph numbered 84 of the complaint, and

refers all questions of law to the Court.


                     AS AND FOR A FIRST AFFIRMATIVE DEFENSE

         22.    That the complaint fails to state a claim upon which relief can be granted.



                                                 4
Case 2:18-cv-03675-ILG-RLM Document 14 Filed 02/08/19 Page 5 of 8 PageID #: 74




                      AS AND FOR A SECOND AFFIRMATIVE DEFENSE

        23.     That the damages sustained by plaintiff, if any, were caused by the plaintiff's own

culpable and/or negligent conduct.

                       AS AND FOR A THIRD AFFIRMATIVE DEFENSE

        24.     That the complaint fails to set forth facts sufficient to constitute a deprivation of

any constitutional right or other basis for a civil rights claim.

                      AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

        25.     That no policy, statement, ordinance, regulation or decision officially adopted

and/or promulgated by defendant or otherwise ratified by defendant authorized a deprivation of

plaintiff's constitutional rights.

                       AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

        26.     That no custom or usage adopted, followed, endorsed or ratified by defendant

authorized a deprivation of plaintiff's constitutional rights.

                       AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

        27.     That the doctrines of respondeat superior and vicarious liability do not apply to a

civil rights claim.

                      AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

       28.      That municipal defendant are not liable for punitive damage awards.

                      AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

        29.     That this Court lacks subject matter jurisdiction.

                       AS AND FOR A NINTH AFFIRMATIVE DEFENSE

        30.     That plaintiff has failed to comply with the statutory conditions precedent to


                                                   5
Case 2:18-cv-03675-ILG-RLM Document 14 Filed 02/08/19 Page 6 of 8 PageID #: 75




commencement of an action against municipal defendant as set forth in the New York General

Municipal Law.

                     AS AND FOR A TENTH AFFIRMATIVE DEFENSE

        31.     That plaintiff's claims, if any, are barred in whole or in part by the statute of

limitations.

                 AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE

        32.     That defendant’s actions, if any, were justified by the facts and circumstances

presented.

                   AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

        33.     That the arrest and/or detention, if any, were reasonable and based upon probable

cause to believe that the plaintiff had committed a crime and/or offense.

                 AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

        34.     That the substance of any communications, if any, made by the defendant and/or

its agents are and were true.

                AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

        35.     That the defendant, at all times complained of, acted reasonably and in good

faith in the discharge of its official duties and responsibilities.

        36.     That defendant acted in what they did solely pursuant to its duties and

responsibilities as law enforcement and/or prosecuting officials.

        37.     That defendant at all times acted in good faith in that it reasonably believed

that it was exercising and acting within its statutory and constitutional powers.

        38.     That in performing such duties and responsibilities, defendant is and was


                                                    6
Case 2:18-cv-03675-ILG-RLM Document 14 Filed 02/08/19 Page 7 of 8 PageID #: 76




protected by absolute and/or qualified Federal and/or State immunity.

                 AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE

       39.     That this action is barred by the doctrines of qualified and/or absolute

governmental immunity for discretionary acts.

                 AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

       40.     To the extent that the complaint purports to set forth any supplemental state law

claims, they are barred by the plaintiff's failure to comply with the statutory conditions precedent

to commencement of an action against municipal defendant as set forth in the New York General

Municipal Law.

               AS AND FOR A SEVENTEENTH AFFIRMATIVE DEFENSE

       41.     To the extent that the complaint purports to set forth any supplemental state law

claims, they are barred by the Statute of Limitations.

                AS AND FOR A EIGHTEENTH AFFIRMATIVE DEFENSE

       42.     That the Suffolk County Police Department is not an entity susceptible to suit.

       WHEREFORE, defendant demands judgment against the plaintiff dismissing the

complaint, together with the costs, disbursements and reasonable attorneys' fees of this action,

and for such other and further relief as this Court deems just and proper.

DATED: Hauppauge, New York
       February 7, 2019                       Yours etc.,
                                              Dennis M. Brown
                                              Suffolk County Attorney
                                              Attorney for Defendants
                                              H. Lee Dennison Building
                                              100 Veterans Memorial Highway
                                              Hauppauge, New York 11788
                                      By:     /s/ Kyle Wood
                                              Kyle Wood
                                              Assistant County Attorney
                                                 7
Case 2:18-cv-03675-ILG-RLM Document 14 Filed 02/08/19 Page 8 of 8 PageID #: 77




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                                           8
